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                                                1:17-cv-302 (TJM/CFH)




        Exhibit A
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 IN THE SUPREME COURT
 STATE OF NEW YORK                                COUNTY OF COLUMBIA
                                                                                                     '··'   \-   t   '.J

 AMERICAN BIO MEDICA CORPORATION,

                                 Plaintiff,
                                                                           SUMMONS
         -against-                                                         Index No.:

 TODD BAILEY, APRIL BAILEY,
 PREMIER BIOTECH, INC., PREMIER BIOTECH LABS, LLC., and
 PECKHAM VOCATIONAL INDUSTRIES, INC.,

                                 Defendants.




TO THE ABOVE NAMED DEFENDANTS:

         YOU ARE HEREBY SUMM:ONED and required to serve upon Plaintiff's attorney an

Answer to the Complaint in this action within twenty (20) days after the service of this Summons,

exclusive of the day of service, or within thirty (30) days after service is complete if this Summons is
not personally delivered to you within the State of New York. In case of your failure to answer,

judgment will be taken ;against you by .default for .the relief .demanded in :the Complaint.



         Columbia County is designated as the place of trial. The basis of the venue designated is the

Plaintiff's principal place of business, and the situs of the property that is the subject of this
litigation.



Dated: February 27, 2017




                                                          William J. Better,
                                                          Attornl!Jsfor Plain
                                                                                rr'---
                                                          1 Albany Avenu
                                                          Kinderhook, N      York 12106
                                                          Tel: (518) 758-1511
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                                                                               ,..... ' '

 IN THE SUPREME COURT
 STATE OF NEW YORK                             COUNTY OF COLUMBIA .                         : .I     1•     l0
AMERICAN BIO MEDICA CORPORATION,                                                                            (
                                                                                                   ''""'·
                               Plaintiff,
                                                               VERIFIED COMPLAINT
       -against-                                               Index No.:

TODD BAILEY, APRIL BAILEY,
PREMIER BIOTECH, INC., PREMIER BIOTECH LABS, LLC., and
PECKHAM VOCATIONAL INDUSTRIES, INC.,

                               Defendants.




        Plaintiff, AMERICAN BIO MEDI CA CORPORATION, by and through its attorney, as
and for a Verified Complaint, state the following:

   1.. Au.ll :time$.h.etein mentioned, l'hlnriff AMERICAN BIO .MEDICA CORPORATION


      (hereinafter "ABMC'') is and was a Domestic Business Corporation with a principal place of


      business situate in the Town of Stuyvesant, County of Columbia, State of New York, more


      particularly known as 122 Stnith Road, in the Town of Stuyvesant, County of Columbia,


      State of New York.



  2. At all-rimes herein menticmed, ABMC was ;ind fa -engaged in -the -bllsiness -0.f .developing,



      manufacturing, and marketing accurate, cost-effective immunoassay test kits and point of



      collection tests for drugs of abuse (hereinafter "drug testing kits").
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 3. Upon information and belief, Defendant Todd Bailey (hereinafter "Bailey") is a natural


    person whose address is in the City of Shorewood, in the County of Hennepin, State of



    M:innesota, more particula.cly known as 28115 Boulder Bridge Drive, Shorewood, M:innesota



    55331.


4. Upon infotmation and belief, Defenchnt April Bailey is a natural person whose addte£B is in



    the City of Shorewood, in the County of Hennepin, State of Minnesota, more particularly


    known as 28115 Boulder Bridge Drive, Shorewood, Minnesota 55331. Defendant April


    Bailey is the Spouse of Defendant Bailey.



5. Upon information and belief, Defendant Premier Biotech, Inc., (hereinafter "Premier") is a


    D-0mes.tic Business Corporati-0n with a Principal Executiv.e Office situate in the City .of



    Chanhassen, Counties of Carver and Hennepin, State of M:innesota, more particularly known



   as 6630 Lakeway Drive, Chanhassen, Minnesota 55317. Defendant Bailey is the president of



   Premier and a shareholder thereof, and Defendant April Bailey is Premier's Chief Executive



   Officer. Since its inception, Premier has been in the business of providing products and
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    services not dissimilar from those provided by the Plaintiff. See Exhibit B.


 6. Upon information and belief, Defendant Premier Biotech Labs, LLC., (hereinafter "Premier


    Labs") is a Domestic Limited Liability Company with a Principal Executive Office situate in



    the City of Cottage Grove, County of Washington, State of Minnesota, more particularly


    known as 7516 -80th Stt.eet S, Suite 220, CGttage Grove, Minnesota 55016. Defendiint Bailey


    is the manager of Premier Labs. Since its inception, Premier Labs has been in the business of


    providing products and services not dissimilar from those provided by the Plaintiff. See


   Exhibit C.


7. Upon information and belief, Defendant Peckham Vocational Industries, Inc., (hereinafter


   ''Peckham") is a Domestic Nonprofit Corporation with a prindpal place .of busJnegs situate



   in the Town of Lansing, County of Mower, State of Michigan, more particularly known as



   3510 Capital City Boulevard, Lansing, Michigan 48906.



                                    INTRODUCTION


8. Beginning in or about April of 2001 and ending on or about December 23, 2016, Defendant
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    Bailey was an employee and/ or consultant of the Plaintiff. Defendant Bailey served.the



    Plaintiff in various capacities, including but not limited to Vice President of Sales and



    Marketing. A copy of Defendant Bailey's Employee Compliance Certification-a signed,



    written agreement delineating, among other things Defendant Bailey's duties and obligations



    tG the Plaintiff-fo ·attached   hel'eto ·a• Exhlbit A.


9. Defendant Bailey's position with the Plaintiff was a senior management position, in whlch he


    earned in excess of $200,000.00 per year, and in which he had significant contact with the



    Plaintiffs customers and sales staff-both in-house aud otherwise-and had access to



   proprietary and confidential information regarding the Plaintiff's contracts, pricing, product



    costs, internal sales strategies, legal and regulatory procedures, and competitive positions



   within the Plaintiff's industry.



10. Defendant Bailey represented the Plaintiff in business matters throughout the United States



   and Europe and ;;egiilitly attended .trade shows DR behalf -of the Plaintiff aad at -the



   Plaintiff's expense.
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 11. The Plaintiff has a contractual relationship with the Department of Corrections of the State



     of Michigan (hereinafter "DOC''), wherein the Plaintiff has supplied DOC with drug testing



    kits for a period oflonger than fourteen (14) years. The Plaintiffs contract with DOC



    routinely generated between $800,000.00 and $1,000,000.00 in gross yearly revenue for the



    Plaii;ctiff.



 12. Defendant Bailey, while employed with and consulting for the Plaintiff, was responsible for



    managing the Plaintiffs contract with DOC.



13. In 2012, the Plaintiff was informed by DOC that, according to state regulations, DOC



    would be required to publicly request proposals for future contracts, rather than simply



    Rnewing its ·CGntract with the Plaintiff. Such a Request for Proposals would not -be



    necessary, however, if the Plaintiff supplied its products through a Community Resource



    Organization (hereinafter "CRO"), provided that such CRO was proved to be a worthy



    supplier, meeting the standards required by the State of Michigan.



14. Beginning in 2012, the Plaintiff developed a business relationship with Defendant Peckham,
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     a CRO in the State of Michigan, with the intention that Defendant Peckham would package


     products supplied by the Plaintiff and then distribute them to DOC.


 15. Defendant Bailey, as the individual responsible for managing the Plaintiffs contract with


     DOC, also served as the Plaintiffs primary contact with Defendant Peckham.


 16 . .Over a period of a,ppmicimately five (5) )'ears, tlte Plafiltiff.apended •ignificant funds,


     resources, and energy to ensure that Defendant Peckham was suitably prepared to package


     the Plaintiff's products and distribute them to DOC, and through the Plaintiffs


    expenditures, Defendant Peckham was eventually proved to be a worthy supplier, meeting


    the standards required by the State of Michigan. The Plaintiff's contract with DOC was


    .eJctended .by·exceptk>n ·thre>ughout this period.


17. In 2016, the Plaintiff was informed that, rather than contracting with Defendant Peckham,



    which would in turn supply the Plaintiffs products, DOC would instead be requesting


    proposals from CROs to supply drug testing kits to DOC.


18. On December 23, 2016, the Plaintiff terminated its consulting relationship with Defendant
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    Bailey and transferred management of the DOC contract to in-house staff.


 19. In January of 2017, in anticipation of the approaching Request for Proposal from DOC, the


    Plaintiff contacted Defendant Peckham so that Defendant Peckham could work with the


    Plaintiff in preparing a proposal to DOC. At no point during multiple conversations with


    Defendant Peckham during January of 2017 did Defendant Peckham indicate to the Plaintiff


    that Peckham did not intend to continue its business relationship with the Plaintiff.


20. The anticipated Request for Proposals was issued by DOC on February 3, 2017, requiring




21. On February 10, 2017, Defendant Peckham informed the Plaintiff that in its response to


    DOC's Request for Proposals, it would propose to package and distribute products supplied


   by Defendants Premier and Premier Labs, rather than by the Plaintiff.


22. Because Defendant Peckham informed the Plaintiff of its intentions so near to the response


   -deaclline, the Plaintiff will be .unable tG wur.ce another ptGVen GRD to package and



   distribute its products to DOC before responses are due.
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 23. Although the Plaintiff may still submit a proposal to DOC in its own right, the absence of a



     proven CRO acting as the distributor to DOC places any proposal from the Plaintiff at a



     competitive disadvantage.



  AS AND FOR A FIRST CAUSE OF ACTION AGAINST DEFENDANT BAILEY


 24. The Pl:ill>tiff repeats, tesrates, and realleges ·each and ·ev.ery allegation set fonh in .the



     paragraphs numbered "1" through "23" as if more fully set forth herein.



 25. The first section of Defendant Bailey's Employee Compliance Certification states that



     Defendant may not use any confidential or proprietary information he acquires in the course



     of his employment with the Plaintiff for any purpose other than to perform his duties as an



    empfoyee -0f the Plain.tiff.



 26. The first section of Defendant Bailey's Employee Compliance Certification states that



    proprietary information includes (among other information) business plans and strategies,



    financial information and forecasts, marketing strategies and information, information



    regarding customers and their specialized requirements, and information regarding customer
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     contracts.



 27. Defendant Bailey used confidential information acquired during his employment with the


     Plaintiff-in particular, information regarding the specialized requirements of the Plaintiffs


     relationship with DOC, such as the need for the involvement of a CRO, Defendant



     Pedilia.m'.s 2vJJ.il.ahility 2nd experience in performing tlu.t .specialized service, J<nd DefendJ<nt


     Peckham's financial arrangements with the Plaintiff-to advance the interests of Defendants


     Premier and Premier Labs.


 28. Defendant Bailey's use of the Plaintiffs proprietary information for such purpose-a


    purpose other than performance of his duties for the Plaintiff-represents a breach of of his


    Empl-Oyee .Compliance .Certifica,tfon.


 29. Because Defendant Bailey has breached his Employee Compliance Certification, the Plaintiff


    stands at risk of losing one of its largest customers, to which a significant portion of the


    Plaintiffs overall revenue has been attributable for a period of approximately fourteen (14)



    yea.rs.
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 30. Given the significance of the contract, the loss of DOC as a customer would represent an



    irreparable harm to the Plaintiff.



 31. The Plaintiff is entitled to have its proprietary information protected from Defendant



    Bailey's use in breach of the Employee Compliance Certification.



32. T-0 prevent irreparable haJ:m as a resuk -0f the breach by Defendant Bailey, the Plaintiff is



    entitled to a permanent injunction, as well as a preliminary injunction and temporary



    restraining order pending the outcome of a hearing before the court.


AS AND FOR A SECOND CAUSE OF ACTION AGAINST DEFENDANT BAILEY


33. The Plaintiff repeats, restates, and realleges each and every allegation set forth in the



    paragraphs numbered "1" .thr-0ugh "32" as if morn fully set for.th herein,



34. The second section of Defend;.,,t Bailey's Employee Compliance Certification states that



    Defendant Bailey may not directly or indirectly solicit suppliers, customers, employees,



    distributors, sub-distributors or consultants of the Plaintiff for Defendant Bailey's own



   benefit or the benefit of another party for a period of one (1) year following the end of his
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     employment.


 35. Defendant Bailey's affiliation with the Plaintiff was terminated on December 23, 2016.


 36. On February 10, 2017, the Defendant Peckham informed the Plaintiff that its proposal to


    DOC would call for the packaging and distribution of products supplied by Defendants


    Premier and Premier Labs, rather .than pr.oducts supplied by -the Plain-tiff.


37. Defendant Bailey used his business relationship with Defendant Peckham, which he had


    developed in the course of his employment with the Plaintiff, to persuade Defendant


    Peckham to use the products of Defendants Premier and Premier Labs, rather than those of


    the Plaintiff, in the context of Defendant Peckham's proposal to DOC.


38. Defendant Bailey's c-ondm:t constitutes s-olicitation of a customer (DOC) and-of a .distribtctor


    (Defendant Peckham) within one (1) year of the end of his employment with the Plaintiff,



    placing Defendant Bailey in breach of his Employee Compliance Certification.



39. Because Defendant Bailey has breached his Employee Compliance Certification, the Plaintiff



    stands at risk of losing one of its largest customers, to which a significant portion of the
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     Plaintiffs overall revenue has been attributable for a period of approximately fourteen (14)



     years.


 40. Given tbe significance of tbe contract, tbe loss of DOC as a customer would represent an



     irreparable harm to tbe Plaintiff.


 41. The Plaintiff is entitled to have it£ customer relationships with DOC and other clients-as


     well as its distribution relationship witb Defendant Peckham-protected from solicitation by


    Defendant Bailey in breach of tbe Employee Compliance Certification.



 42. To prevent irreparable harm as a result of tbe breach by Defendant Bailey, tbe Plaintiff is


     entitled to a permanent injunction, as well as a preliminary injunction and temporary


    restraining order pending .tli.e -0utmme -0f a hearifig before the <:omt.


 AS AND FOR A THIRD CAUSE OF ACTION AGAINST DEFENDANT BAILEY


43. Plaintiff repeats, restates, and realleges each and every allegation set forth in the paragraphs



    numbered "1" through "42" as if more fully set forth herein.



44. During the course of his employment with tbe Plaintiff, Defendant Bailey had access to
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      proprietary and confidential information regarding the Plaintiff's contracts, pricing, product


      costs, internal sales strategies, legal and regulatory procedures, and competitive positio!lS



      within the Plaintiff's industry.


  45. Such information, gathered through significant time, effort, and cost, permits the Plaintiff to



     gain an advantage over competitors within the Plaintiff's industry who do not have access to


      the same.


  46. Defendant Bailey used such information, in particular the status of the Plaintiff's contract


     with DOC, the involvement of Defendant Peckham in the continuance of that contract; and



     the Plaintiff's internal costs and profit margins with regard to that contract, to advance the


     itcterests .of Defendants Premier and Premier Lab" in wmpeting with the Phintiff to· secure



     the DOC contract.



 47. In so using the Phintiff's proprietary and confidential information, Defendant Bailey



     misappropriated the Plaintiff's trade secrets.



 48. Because Defendant Bailey has misappropriated the Plaintiff's trade secrets, the Plaintiff
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     stands at risk of losing one of its largest customers, to which a significant portion of the


     Plaintiffs overall revenue has been attributable for a period of approximately fourteen (14)



     years.


 49. Given the significance of the contract, the loss of DOC as a customer would represent an



     irreparable harm to the Plaintiff.


 50. The Plaintiff is entitled to have its trade secrets protected from misappropriation by


     Defendant Bailey.



 51. To prevent irreparable harm as a result of the misappropriation by Defendant Bailey, the


     Plaintiff is entitled to injunctive relief.


  AS AND FOR A FIRST CAUSE OF ACTION AGAINST DEFENDANTS APRIL
                BAILEY. PREMIER. AND PREMIER LABS

 52. Plaintiff repeats, restates, and realleges each and every allegation set forth in the paragraphs



     numbered "1" through "51" as if more fully set forth herein.



 53. The Plaintiff had an agteement with Defendant Peckham to cooperate in submitting a



    proposal to supply DOC with drug testing kits.
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  54. Upon information and belief, Defendants April Bailey, Premier, and Premier Labs were


     aware of the agreement between the Plaintiff and Defendant Peckham.


  55. Upon information and belief, Defendants April Bailey, Premier, and Premier Labs have


     persuaded or otherwise incentivized Defendant Peckham to submit a proposal to supply



     DOC with drug testing kits Jn cooperation with Premier and Premier Labs, rnther .than with


     the Plaintiff.



 56. In so persuading or incentivizing Defendant Peckham, Defendants April Bailey, Premier,


     and Premier Labs caused Defendant Peckham to breach its agreement with the Plaintlff.


 57. In so acting, Defendants April Bailey, Premier, and Premier Labs have tortiously interfered



     with a .contract.



 58. As a result of the Defendants' interference, the Plaintiff has been damaged in an amount yet


     to be determined.


 AS AND FOR A SECOND CAUSE OF ACTION AGAINST DEFENDANTS APRIL
BAILEY. PREMIER, AND PREMIER LABS, AND AS AND FOR A FIRST CAUSE OF
               ACTION AGAINST DEFENDANT PECKHAM

 59. Plaintiff repeats, restates, and realleges each and every allegation set forth in the paragraphs
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     numbered "1" through "58" as if more fully set forth herein.


 60. Defendants April Bailey, Premier, Premier Labs, and Peckham all stand to gain significant


     profits and revenues as a result of their cooperation in submitting a proposal for a contract


    to supply drug testing kits to DOC.


 61. Such contract, should it be obtained, will capitalize upon significant investments -0f time,


    effort, and costs made by the Plaintiff, over a period of years, to ensure that Defendant


    Peckham was suitably prepared to package and distribute the products subject to the


    contract with DOC, which investments eventually resulted in Defendant Peckham proving


    to be a worthy supplier, meeting the standards required by the State of :Michigan.


.62. Equity and .g-OGd wnscience .dictate that Defendants April Bailey, Premier, Premier Labs,



    and Peckham should not be permitted to retain such gains as have been realized at the


    Plaintiffs expense.


63. As such, Defendants April Bailey, Premier, Premier Labs, and Peckham have been unjustly



    enriched, and such gains as are realized by them should rightfully be remitted to the Plaintiff.
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        WHEREFORE, Plaintiff American Bio Medica Corporatlon humbly prays thls Honorable
Couii: grand judgement as follows:

           a. In favor of Plaintlff American Bio Medica Corporatlon for a preliminary injunctlon
              against Defendant Todd Bailey for the first, second, and third causes of actlon.

           b. In favor of Plaintlff American Bio Medica Corporatlon for a permanent injunction
              against Defendant Todd Bailey for the first, second, and third causes of actlon.

           c. In favor of Plaintlff American Bio Medica Corporatlon for a Temporary Restraining
              Order against Defendant Todd Bailey for the first, second, and third causes of
                action.

           d. In favor of Plaintlff American Bio Medica Corporation for damages against
              Defendants April Bailey, Premier Biotech, Inc., and Premier Bio Labs, LLC for the
              fourth cause of action.

           e. In favor of Plaintlff American Bio Medi ca Corporation for damages against
              Defendants April Bailey, Premier Biotech, Inc., Premier Bio Labs, LLC, and
              Pft:.kham Vo.cational Indus.tries, Iru:. fur the fifth .causJO of.a.ction.

           f.   For all such other and further relief as to thls Honorable Court shall deem just,
                proper, and equitable.




Signed, this _ _ day of February, 2017                         WILLIAMJ. BETTER, P.C.
Kinderhook, New York




                                                                wp.Lil)l!Il   J. Better, Esq.
                                                                  ti rneys for Plaintiff
                                                               1 '.Albany Avenue·
                                                               Kinderhook, New York 12106
                                                               (518) 758-1511
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STATE OFNEW1'0RK                      y
                                       ) ss.:
eoUN-'fYOF COLUMBIA                   )-




         MELlSSA WA"'I'ERHOUSE, beiri.g July swor"1, deposes and says t1ut depo"-OO.t is .the ·Chief
Executlve-Ofii.cer of .AMERICAN.BID MEDICA CORPOR.A:TIDN. the cotporacioa n0;medfil !he

within action, tliat deponent has read tlie foregoing Summons and Verified Complaint and knows
tlie contents tliereof; and tliat tlie same is true to deponent's own knowledge, except as to tlie

matters tlierein stated to be allegr'd upon information and belief, and as to tliose matters deponent
believes it to be true.

        11-Us verification is made by deponent because AMERICAN BIO MEDICA

CORPORATION is a domestic business corporation. Deponentis an officer tliereof, to wit, its
Chief Executive Officer. The grounds of deponent' s belief as to all matters not stated upon

depo"ent's kt>owledge·are·as.follows: doc;;imoo.ts w.d-records of.the co




                                                                Melissa aterhouse
                                                                Chief Executive Officer




 {1oo~Cx&'
Notary Publi~
       DEBORAH A. BERLIN
  Notary Public, State of New Yorll
         No. 01 BE6036756
   Qualified in Columbia County   I I)
 Commission Expires February 7, 20 O
  Case 1:17-cv-00302-TJM-DJS Document 1-1 Filed 03/16/17 Page 21 of 69




                                 ATIORNEY CERTIFICATION

        I,William J. Better., HEREBY CERTIFY, under penalty of perjury, that I have no actual
knowledge that the substance of any statements of fact contained in the annexed documents are
false. This Certification is based solely and exclusively upon information provided by the client, and
upon the client's certification to the undersigned attorney that such information is not false, and is
not based upon any review, audit, examination, inquiry, or investigation made by the undersigned
attorney or by anyone acting on behalf of said attorney.

(A)    PLEASE TAKE NOTICE THAT this Certification is made by the attorney as an Officer of
       the Coutt and is directed solely and exclusively to the Court in accordance with 22 NYCRR
       202.16(3) and is expressly not directed or extended to the opposing party herein.

(B)    PLEASE TAKE FURTHER NOTICE that the opposing party may not and should not rely
       upon this Attorney Certification in assessing the ttuth or validity of the information
       contained in the annexed document. The credibility contained in this submission is no
       greater than the credibility of the client represented by the undersigned attorney and the
       opposing party should give this document no greater credence merely because it bears this
       Attorney Certification.

SIGNED, this   ~£February, 2017
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EXHIBIT A
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                                  .EMPLOYEE OGlMPUANCE JCERTIFICA.T]ON

'!n ronsidem'l:i:on-0f,.and .as aoonilitfom·of my•empl<>yment with AMERICAN  MEDlCA      mo
 CORPOAATlON, hereinafter "ABMC", I hereby represent to, aio.d agree with, ABMC as follows'

 1.       Praprietarv· [nformation; Confrdentialitv. I understand that my employment by ABMC'
 creates a relationship of confidence and trust with respect to any information of confidential ·or
 secret nature that may be disclosed to me by P;BMC that relates to the business or products of
 PiBMC oi: any oli its;;.par·enfa•; subsidi'aries,; affiliates; rus.t®mern m· SiOpplier"°' .,~ any other party
 whom ABMC agrees tc hold iiaform:at'fon» of suoeh pa:rty il:1' confidence (."frrlbrmation"f. 1·
 understand that the lnJ'ormation has fuclependen1' economic vaI<oe to ABMC and· I acknowledge
tha:t ABMC has taken steps to prese~e and safeguard the secrecy of the Information and the
.Information i.s not generaJ1y1mownto the public or to ..others in·ABMC's industry, an<l has
entailed the expenditure of substantial costs and effort on ABM C's behalf over a long period of
time.

          As -   Empk>yee ·r sl1aJl ,make alhreasonable effo.rts. tO ·maintain .the.fuformation as
•oorifideriti:ill and ooc11e'.t WQrmatfon •1ilf ABM>C. I heDe~y agree :tha:t I will icinly <lisckise t'he
[filo-:rmation to: A.BMC, its empioyees.,. ar agents. who.m it shall be reasonably necessar1 to
disclose the Information ir1 order to further conduct the business of ABMC, to my legal counsel
in eonnection vvith· such rnunscl's' representatiO'n, ocr as. otherwise· may· be required by law.

          I agree that all right, title and interest in and to the lnformation shall remain the
exclusive property of ABMC and that I will not be granted any intemst or license of any rig):it
respectin,g· the lnfornratfon otl'ier than that.·rri:ay be ruopres&Iy sgt forth nereitt. t a,gree tfiat any
                    0

itleas, prncesseS', desfgns', pr'0cedwes, 011 meth-0ds rdated fo ABMC's b1!lismess, m-ufacturing-,
operatiOg systems or product tedu1ology, developed by me while an employee off ABMC is
considered "works for hire" a..-i.d such "works· for hire" shall becom!O and remain' the·sok properly
of ABMC. I further agree that I will not file any application for intellectual property rights related
to the Information or "works for hire" without the express written consent of ABMC. I will not
use fue Information for any purpose other than to perform my duties as an Employee of ABMC.

            S11J1.ch iProprl<'tary fo.formautioa snaTI:.mclOll.de b~tis®o't liinited.to: ABMC's.mtema1
operating systems orad pro.cedl.ll'es, ABMC's cll.rrent .and fut>J.re business plans and strategies;
(i..'1cluding but not limited to analytical methods and procedures, financial information, forecasts
and forecast assumptions), marketing ·strategies or in:formation, kno•vledge conceming:ABMC's
customers and their specialized requirements (including but not limited to any customer lists or
databases pertaining to existing customers, information related to past or prospective
customers, data about the tenns, conditions and expiration dates of existing relationships or
contracts with customers, the type; quality and specifications of products purchased by such
cu;sitomer.s]o, any technieaI data; new or existing. p<OOU"<!t· <W serviee cGn. cepts. [)<J;.·icieas, knovi-h-
{trad'e secrets}. any a:..'1dr aJli information related to ABMC's resea;ch and d'eve!opment activities;
manufacturi..TJ.g, .pr&cfucts, inventions~· formulas-, processes, d:es:igns, ci'ra~~gs and se:rvice and'
operation manuals and documentation.                                                       ·


                                                    I
          Case 1:17-cv-00302-TJM-DJS Document 1-1 Filed 03/16/17 Page 24 of 69




           Prqprietmy Information shall mea.ci all notes, memoranda, files, records, writi:o,g or ofoer
 doC1ULmenits wbicb -Employee :has, m the _past, or sba!llt "2\'ter the ·,full exec>.:ition of ili:is AgTeement,
 pn;:pare, .IJlse or come into contact wil-h duooghls(her emptoyment witla ABMC, which relate to
 any of ©he ahoV'e otr aure-.:usefuH!ll ainy manaer .to ..fue .btiismess of ABMC. Proprie.taiy-lnformatioa
 shall also include any and all information and materials in ABM C's possession or under ABM C's
 control for any other person or entity which ABMC is obligated to treat as confidential or
 proprietary, and any and all information not generally known to the public or wifoin industries
 ©fll trades in which ABMC competes. The definitioo o! Proprietary Informatien a,pplies, to< all'
 cOll)mu.:rrications, ~nc1Uding·w:ritten,. elect!Eo:nic 001.d 00"'8:4 and".-w~IDout re~d, ta wh.ethe.17 any
 specific matters- wow:&be dieemed· co:miclential', materiru oF hnportant or whet.."1er any swecmc
 rn;attew W01!>1'd be d!eemed", patentable o; copyrightabk

           The obligations noted above shall not apply to: Information that immediately prior to or
 at the time of disclosure is, or thereafter becomes, available to the general public, Information
 that has been lawfully obtained by me from an independent third party without breach of the
 obligations noted above as shown by sufficient documentation ·that establishes the thlrd party as
.me.so.,.,-ce or fue "1:riformation -and tih:u the ihird. party "has not obci:ined fu.c ·;.-,formation from
 ABMC, oir -!nformatioa that i can establish, by decum.ented ·"11.ld oo.mpetent evidence, was in my
-possession l)>~io•Ao my·empkiyn;tent with ABMC.

          My obligations related to the Information shall remain in effect until such time that the
 Information is no longer confidential or secret and is !mown to the general public, and my
 obligations related to the Information survives any tem>illation CY1i .nsignation of my emp1'oymem~
 wifuABMC.

         I'understancitha& in tbe case of-a breach or tfu'eatened. breach o£my ooEgations urudei;
 this Section ! by me, ABM C may suffer irrepara!i!e !farm anclwll'!"therefore    entitlec:Ho seek  be
 and be granted injunctive relief to enforce my obligations under this Section 1.

 2.       Non-solicitation. During and for a period of one (1) year after my termination or
resignation from employment with ABMC, I will not directly or indirectly solicit suppliers,
-01Jtsromers, .em,p'!Gyees, dismbutorn, .s.ub-ilislributers .or conswtants . of.ABMC ifor my 'benemt or
for ta.e beRefu: of any o!ther pa.-;ty.

3.        Employee Handbook. The ABMC Employee Handbook (the "Handbook") describes
important information about ABMC and my relationship with ABMC as my Employer that is not
included specifically in this Certification. I hereby aclmowledge that I have received the
Handbook and I am aware that it is my responsibility to read it thoroughly and comply with th.e
policies. coo.t:ained mthe. Handbcal<.. 1 unde1"'.stand t..11.at. the policies, bertefits &.!:d ;.-;"'ofor:m.ation
confraiflecl' in the Hancl&ook are Sl!lbjed t-0 change 2!nd" t.~m ~evisiimas· to the Handfltloot'<; may be
ma&. Any such changes w:i1t be commullllicated.' ili..-ough offic;arnotfoes ""'dTackniowtedge ilia<t«
any sucli revisions may superteae, modify-or el&rninate- e:;tistin% polki"es. Om.ly ilie Ghfef...
Eic:ecutive Officer, Chief Financial Officer or a majority of the Board of Directors has the ability to
adopt any revisions to the policies contained in the Handbook and any revisions' made to it.

 4.         Emp.\G>vrnent Status. i have =tered into my employment relationship with ABMC
v0itL'fttari.1y an.ci .a:ck.n:o:wled,ge that ·there .fs .no s..peci§edl. 1engti;t of 'flIDploy.m.ent.. i\ccor-t~5~y., a...:th_er
.ABMC or l can iterminate t:..h.e rdatl.0$1.snip at vi.ill., wi.th or wi.tluout cause, al a.."1.y lime, so fori;g as
there -are no vfu"lations of applicable .federal er s.tate !aw.

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          Furthermore, neither my signature on this Certil!icatlon, nor \the Employee '.Handbook
 coMtitutes· a contract of employment with ABMC or ·obligates ABMC to -emp1oyme for any stated
 ;period of time.

 5.       Govenain.g-Law: Severa:bi!itv. This Cer,filqcation shall.be governed and interpreted in
 accordance with the laws of the State of New York, without regaid to ihe application or
 principles of choice of law. In the event that any provision of this Certification is found by a
 court, arbitrator or other tribunal to be illegal, invalid or unenforceable, then such provision will
 not be voided; but Ml!l! enforced to the maximum extent penmssfble nnder applicafulie l'aw, andi
 the remainder of this Certification will remain in full force and in effect

 6.      C0<'htacts. Shoufd. I ha'l'e any qu•estfons· ot coru:ems ·roelaited to tl'ii& Certlfioation• a~ its
 contents; nsha:l.1 contart"the fmJ.li>:wing,.pei;oon1>' a;t AEMC'S< Corpo;r"'te Office in- Kina!eirhook, NY:

          For Sections l, 2, & 5:

                         Melissa A. Decker
                         Corporate Secretary
                         Cru-po,-ate Comp!iall'lce Ad®nis:trator
                         Phone: 800-227--1243,-Ex:tension ·107
                         "Emml~ mdeclcert@abmc.com

          For Sections 3 & 4:

                         Therese R. Drobner
                         Human Resou.·rces
                         Pll:ome: 8011'' 227-1.24:&, lllxt-eooi:Om! 1Gs·
                         Email!. t<:fr-ObRel@abmc.com

 By signing and dating below, I hereby agree to comply with the terms of this Certification:

AMERICAN.BIO MEDIC.A CORPORATION:                                 .EMPLOY.EE:
                                                                    ,,...,,..--   I             I
                                                                       f OCYcf                 le c-;
·Print Name                                                                                         ./


 Sign her~                                                        Sign here                j


                                                                  l'/;;_o /cy
Date I                                                            Date




                                                          3
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           EXHIBIT B    I
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  2tl51201J




   Business Record Details»

  MtnroesDta Euslness Name
  P.r.emler Biotech labs, llC

 lusiness Type                                                                        MN Statute
   Limited Liability Company (Domestic)                                                3228

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  6;;<9661900021                                                                         Mf'1nesota.:

 'iling Date                                                                          Status
   6/29/2013                                                                           Active/ In Good Standing

 lenewalDueDate                                                                       .Registered Office Address
  12/3112016                                                                            6630 Lakeway;l'l!,tive
                                                                                        Chati.1'asseR, MN 55317
                                                                                        USA

 tegistered Agent(s)                                                                  Manager
  (Optional) None provided                                                              Todd Bailey
                                                                                        751:6 SOtb,SioS Slliit'e 220:.
                                                                                        Cattage Greve, Ml~.f'SSD:16
                                                                                        us!(

,rincipal Executive Office Address
 7516 80th5t5Suite220
 Cottage Grove, MN 55016
 USA.



      FiUng History


   Filing Histor't

   Select the item(s) you would like to order:                Order Selected Copies

                  Filing Date                Filing                                                                      Effective Date

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                            EXHIBIT C
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       Business Record Details»

       ~irinesota.Business.Name
       PREMlER-BlOTECH,lNC

       iusiness Type                                                                                                MN Statute
        Business Corporation (Domestic)                                                                              302A

   'ife l\IUfuh.e~                                                                                                  f;!oq:iio Jui;isdiCtlbn;
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   'iling Date                                                                                                      Status
    09/14/2009                                                                                                       Active I In Good Standing

   lenewal Due Date                                                                                                 Registered Office Address
    12/31/2017                                                                                                       663QLal<eW3yQrv
                                                                                                                     Chatihasser:i,MN 55317
                                                                                                                     USA

  Jumber of Shares                                                                                                  Registered Agent(s)
   10,000                                                                                                            (Optional) None provided

  :l:rtefExeciitiile Officer: .                                                                                     i>ttiilci'PaJ;&eci.itiVe. Office Acll'lre'sS'
   Apdi'.Baifoy                                                                                                       663£H.akewa¥ Dr.v:
   66'30.lakewaJ!' Dzy                                                                                                C~aOJi~etJiMN 553'17
   Chanhassen, MN 55317                                                                                               USA
   USA




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                               09/14/2009                        O''igTn;il'fttjl'.lg-" Bt1Silies&Gor1;mratl'on·(Domestic);.
                                                                 (Business Name: PREMIER BIOTECH, INC)

                               2/25/2013                         Administrative Dissolution - Business Corporation
                                                                 (Domestic)



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                               ~--   -•-•" ............. 1c,,,,.1.,,,..,c:.1~~rr,hl1P..t::..ili::?filinoGuld=33ebOf93~94d~e011-a8B6-001ec94ffe7f                    112
   Case 1:17-cv-00302-TJM-DJS Document 1-1 Filed 03/16/17 Page 30 of 69




 IN TI:1'E SUPREME COURT
 STATE OF NEW YORK                            COUNTY OF COLUMBIA


 AMERICAN BIO MEDICA CORPO                 ~~!Eil~!E[Q)
                              Plaintiff,       FEB .2 7 2D17
                                           COLUMBIA COUNTY SUPAfME
                                           COU~TY ANO FAMILY COURTS




                              Defendants.


       Upon reading and fl.ling the Summons and Verified Complaint, and upon the appended
Affidavit of Melissa Waterhouse, Chief Executive Officer of the Plaintiffherein, duly sworn to
on February 24, 2017, and upon the appeodedAffirmation ofWtlliam J. Better, Esq., duly
affirmed on February 27, 2017, and upon all exhibits appended thereto, and upon all papers,
pleadings, and proceedings previously submitted or heard, and upon Good Cause having been
shown for the relief hereinafter requested,

        Let the defendant TODD BAILEY Show Cause at a tenn of this Honorable Court held in
and for the County of Columbia, at the Courthouse 'fh.<;r~of, at40l Union Street, in lhe City of
Hudson, County of Columbia, State of New York-0n YY\~'tt-h J.0 , 2017, ~===­
or as see!i tl!ll!'eaficr Bl! Goansel maybe het!fd., for an Order.

  I.   Pursuant to SECTION 6311 of the CIVII. PRACTICE LAW AND RULES OF THE
       STATE OF NEW YORK issuing a Preliminary Injunction against defendant TODD
       BAILEY, individually, and as Director, Officer, Consultant, Employee, Shareholder,
       and/or Executive of Premier Biotech, Inc., and/or Premier Labs, LLC, prohibiting and
       barring him (1) from responding to a Request for Proposal issued by the Michigan
       Department of Corrections on February 3, 2017, (2) from participating in, informing, or
       agreeing to provide goods or services with regard to any entity's response to the same, (3)
       from in any manner soliciting the business or services of customers, employees,
       distributors, sub-distributors, or consultants of the plaintiff corporation during the term
       provided in the Employee Compliance Certification signed by defendant Todd Bailey on
       September 20, 2004, and (4) from in any manner exploiting, dissem:\nating, or
       appropriating confidential or proprietary information, includiog trad~ secrets, learned
       during defendant Todd Bailey's employment with the plaintiff corpqration; and Good
       Cause being shown, be it further                                        '

   ~~th~~SECTION~ftheCIVILPRAC~~-AND
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            R                    ~·             YORK a Temporary Res       · g Order shall be issued
                 itilitaii · .'.·             · ODD BAILEY, individually, d as Director, Officer,
                                    ~~defendant
                  . der, an or Executive of Pr 'erBiotech, Inc., and/or Pre 'er Labs, LLC, {l) from
           respon · g to a quest for Proposal sued by the Michigan Dep           ent of Corrections on
           Feb       3, 2017, ) from participatin in or informing any entity's sponse to the same, (3)
           from in y manner oliciting the busin s or services of customers,        loyees, distributors,
           sub-distri tors, or c    tants of the pl tiff cotporation during the te provided in the
           Employee omplianc Certification signe by defendant Todd Bailey on eptember 20, 2004,
           and (4) fro in any       er exploiting, dis minating, or appropriating co dential or
           proprietary ormation, · eluding trade seer ts, learned during defendant To d Bailey's
           employment 'th the pl tiff cotporation;

                  And Good Cause having been further shown, be it ORDERED that Service of this Order
           to Show Cause, and the papers upon which it was granted, including the Summons and Verified
           Complaint, the Affidavit of Melissa Waterhouse, and the Affirmation of William J. Better, Esq.
           on or before l'vh -«~ (o              , 2017 upon defendant TODD BAILEY, individually, and
           as Director, Officer, Shareholder. Ann/or EY<lGUtive of Premier Bioti:ch,Jnr and/or Premi,,,.
           J:.a~s,LLCby ~p¥t.G~             MCl'.J9   ,l'.. ~     ~1 tµl~                               .
           _ _ _ _...,__ _ _ _ _ _ _ _ _ be deemedgoQda!l\iS'ufficiclit service.

                   Answering papers, if any or aught are to be had, are to be served upon William J. Better,
           P.C., attorney fqr,AMERICAN BIO MEDICA CO:R~ORATION, the Plaintiff herein, not later
           than the / & f-1"- day of the month of     VV\C&YJ/(A..              , 20170'!It    •          iH
          "the           99 tberepf.\
                            00




                          ~
           Signed, this~ day of        (',e b11m'f11 ·2017
PERSONAL APPEARANCES ARE NOT REQUIRED ON
THE RETURN DATE. ALL ORIGINAL PAPERS MUST
   BE FILED IN THE COURT CLERK'S OFFICE IN
      ACCORDANCE WITH LOCAL RULE 6.0

                                                        IDSTICE OF THE SUPREME COURT




                                                                                 ',.
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IN TIIB.SUPREME COURT
STATE Of' NEW YORK                                                  €0\:JN'PY ©F-€0EUMB1A


AMERICAN BIO MEDICA CORPORATION,

                                     Plaintiff,
                                                            AFFIDAVIT OF
                                                            ME"f.I'SSA A>WATERHOUSE
      -against-                                             Index.NJ.Jmber;


TODD BAILEY, APRIL BAILEY,
PREMIER BIOTECH, INC., PREMIER BIOTECH LABS, LLC., and
PECKHAM VOCATIONAL INDUSTRIES, INC.,

                                    Defendants.


STATEOFNEWYOR.K     )
                    )ss.:
OCJUNTYOF.:OOLUMBIA )

     Melissa A. ·WarerhOuse, be1ng dilly sworn: deposes and says:


  1. I am the Chief Executive Officer of American Bio Medica Corporation (hereinafter


     "ABMC"); which is a publicly 1:1Jaded coi;pmatiom. with its: coi;pmate <1ffice located iTu


     Kinderhook, New York.


  2. ABMC .seeks a temporary restraining order pending a hearing on a.preliminary injunction


     In i'he above referenced case, which seeks a permanent lnjunction aga'inst tod.ii13ailey


     (hereinafter "Bailey") and all other entities, which have been provided confidential


     illfo1~n by Bailey abohli ABMC aNd ABMC's ;elatioool:iipswifu its. eblstomei;s,
Case 1:17-cv-00302-TJM-DJS Document 1-1 Filed 03/16/17 Page 33 of 69




 '.\. ABMChas·beeJJ;u«existenee since 19&6 and sinee 1992, isilJ,thebusin.essofdeveloping,


    manufacturing, and marketing accurate, cost effective immunoassay test ldts, including


    some of the world's most effective point-of-collection tests for drugs of abuse.



4. ABMC e<mreEtly holds 12 pat<mts isscied by the Ufilted :States .Pateiat'l!Rd Trademark


    Office as well as a number of patents issued in various countries outside the United


    States. ABMC also has twenty-nine (29) 510(k) marketing clearances from the United


    States· Food and Dl'l>lg Administnatiomfw. p110ducts.


5. ABMC employs approximately 41 people at its Kinderhook, New York location and


   another 16 8I its bulk strip rnanuf'acturing facility in Logan Township, New Jersey.


6. Defendant Bailey, began working for ABMC in April 2001 as a Director of Business


   Development. His responsibilities included all manners of sales and all marmers of


   commuiiicatiorIB with diffe1ient entities; including man,y cOEJectioo5 agencies· and


   departments for states and counties throughout the United States.



7. In Janllilly 2004, Bailey was.promoted to Vice President ofSales & Marketing, and he


   servedin'lhat capacity as an employee of A.BMC until September 2011.
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 &. ilL Seprember. 2004, Bailey entered intG< =agreement with-ABMC related t& the


    information that had independent economic value to ABMC, a copy of which is appended


    hereto as Exhibit A.



9. In :September 2011, Eailey ·eatered,jllto a 1099 ·cmIBulting'1"elatio:rashlp with ABMC. He


    served in that capacity until December 2016. As a 1099 consultant, the level of


    information he received related to ABMC and its business did not change. Rather, he


    received the same higl:v tevel ·of clJllfidential and pmprietm3' infoimatien,



10. Throughout the entire relatioruhip, Bailey continuously reported directly to the Chief


   Executive Officer of ABMC. He also reported to members of the Board of Directors of


   A)3MC. He was privy to all types oflnforrnation that is confidential and proprietary and


   that information includes, but is not necessarily limited to, information related to:




   structures, costing of ABMC (internal gross profit margin calculations), daily sales


   reports/profit margin/open orders reports (regarding all products of ABMC), material and


  ,aon-public crus'romer .CGJlltracts.{includin.g .thefomaterial ieims aru1 expiratiea :dates),
Case 1:17-cv-00302-TJM-DJS Document 1-1 Filed 03/16/17 Page 35 of 69




    speeifie customer. ·oroering bisfoiies:; new pr.oduet development, fil1d intetmal· quality


    control actions (including but not limited to ABMC's processes, complaint history, etc.).


11. Throughout the years, ABMC has developed working relationships wi:th a number of


    municipalities and private entities. 'Bailey was a participantin creating such relationships


    wi:th a number of:these municipalities and private entities.


12:. As a.result of particip'11ting-'i.Tucreafuig and seoocing; those relati6.nsbips; Bailey became


    aware of how ABMC does business, how it effectively services its customers, and how it


    maintains its market share.




14. Upon information and belief, Defendant Premier Biotech Labs, LLC (hereinafter


   "Premier"). is a Domestic Business. Corporation with its. principal place of bus.mess in the


   state of Mirinesota and' is owned' by De:fenclant1:lalfoy, a copy of such recorcf is appended'·


   hereto as Exhibit B.


15. Uponinformation·and belief,.Defendmtt Pre.mier Biotecla,]nc..{hereinafter "Premier


   Biotech") is a Domes:tic Limited Liability Company with its principal place of business in
Case 1:17-cv-00302-TJM-DJS Document 1-1 Filed 03/16/17 Page 36 of 69




    the S.Wi of Minnesota, and is owned by Defendant April Bailey, a,copy of which.is-


    appended hereto as Exhibit C.


 16. Within the last two or three months, it has become obvious that Bailey has begun to


    poach ABMC' s customers.


17. Bailey and his business, Premier, directly compete with ABMC and is taking great efforts


    te> poach,ABMC's customers:


18. The State of Michigan Department of Corrections (hereinafter ''Michigan DOC") is a


   longstanding direct customer of ABMC .and has been a customer for approximately


   fourteen (!4) years. Balley was the sales representative on the contract with MiChigan


   DOC and ABMC obtained the contract when Bailey was an employee of ABMC.


19'. Tbeir~annual sales for,2Uf 6t0taled apjJroxima±ely $8:69,00o:oo: 1Tu2'01S, the woiial sales


   totaled approximately $816,000.00 and in 2014, the total approximated $857,000.00.


20. Although conte11t with.the,produc.ts mid services being provided by ABMC, after many


   years cif continuing the contractual relationship, Micb:igan DOC Informed ABMC that it
Case 1:17-cv-00302-TJM-DJS Document 1-1 Filed 03/16/17 Page 37 of 69




    must put their.requ.ir.ementi for, drug.·tesl kits ou.t focr: competitive bidding 0[,Il1Jl>ve tG< a

    state use pro gram.


21. As a result of this communication, ABMC (still using Bailey as its sales representative


   only now on a 1'099 conslil'tant basis) began to take efforts 'in late 2012 to transition the


   Michigan DOC to a state use program using an intermediary third party Community


   Reoomee Orgmirntion. (CRO).


22. ABMC identified an organization to utilize for this purpose; Peckham Vocational


   Indus!ries .(hereinafter "Peckham"), which is located in Michigan and which provides


   serVl.cesforthe disaoled. the disabled would package Al3MC's products and supply


   them to Michigan DOC.




   actions necessary to transition the contract to state use. Part of these actions involved


   ABMC "giving" Peckham the experience they needed to prove to Michigan DOC that


   state,use wa:i aJ"pmpriate for.the contract. Another acooLJ.inw~lved ABMC addressing


   legal challenges questioning the use of the state use program.
Case 1:17-cv-00302-TJM-DJS Document 1-1 Filed 03/16/17 Page 38 of 69




 24. Thr:ouglmut these fouri(4 ), year.i, these aootio:ri:s uwolved trerile:ri:dous· efforts, ooth..firum.cial


     and personnel related, especially given the size of ABMC.


25. ABMC had knowledge tJJat Michigan DOC would be issuing a Request for Proposal


     (''ltFP") soon given its current Michigan.DOC contract expiration: To that end, on


    January 4, 2017, ABMC (through its current Vice President of Sales & Marketing)




    scheduled for later in January.


26. Michigan DOC issued the RFP on February 3, 2017, and a response is required by March


    3, 2017.


27. Because ABMC has had the benefit of working with Michigan DOC for the past fourteen


    (14}.years; ABMC iswell versed with,the needs arui expectationi< o.fMiehlgan.DOG.


    ABMC is also well informed and prepared to provide the type of product Michigan DOC


    needs for the type of clientele they serve.


2il .. Frilm. a bidding perspective, a prim:ity will. be given .re CROs m.the State of


   Michigan. Jl,if:ichigan DOC values entities such as ABMC who make a commitment to
Case 1:17-cv-00302-TJM-DJS Document 1-1 Filed 03/16/17 Page 39 of 69




     their-disabled p0pwati"1'L As previously noted, a,sigiiifieanf '1l'lillillif of furte aiid ·energy is


     afforded to locate and involve a CRO.


29. On February 10, 201'.7, .(a week.after the RFP was issued and 1hree .(2) weeks prior tD the


    RFP's response deadline),l'eck:ham ·infonneii ABMC that they were going to respond to


    the RFP with Premier (Le. Bailey) regardless of the fact that the only reason the contract


    was appioved fur, state uire was due lai'gely i,n,pait t°' ABMC's effort; and that-Premier .


    had no previous involvement in the process whatsoever.


30. This late notice on the part of Peckham effectively prevents ABMC from responding to


    tlieRFP for'ihe MichlganDOC.buslness With a CRO anii puts ABMC at a severe


    disadvantage in responding to the RFP.


:H. In -additioo; Bailey's· knowledge of coofolential prieirig lnf'o.rmatfo![l;gives Bailey ruill all

    of his entities that are !mown to belong to him and Peckham an unfair competitive


    advantage over ABMC.



32. T.JrroiigbD.:nt hls ti:me at AiiMC, as rur'employee ·li:Gtd as a 1-099 ronsi:1J:taldt, Bailey was


    privy to confidential information relating to ABMC's product relationships with its
Case 1:17-cv-00302-TJM-DJS Document 1-1 Filed 03/16/17 Page 40 of 69




    euistooiers. Bailey Wal> heavily IDV<l<lved mthe sales aspect ©<f ABMC' s pmdux;t. Bailey


    communicated with various individuals, including working closely with Peckham' s


    representative, about the product through email, copies of which are appended hereto as


   ExhibitD.


33. It is also evident that Bailey is well versed inABMC's pricing scheme since there are


   email exchanges between Bailey (on ABMC's behalf). and Michigan DOC's procurement


   office with an attachment showing the exact brea.K cfoWn of the prlclng of a new product


   ABMC was proposing to Michigan DOC, a copy of which is appended hereto as Exhibit




34. Bailey's agreement with ABMC clearly states that once leaving employment, and after


   any termination from employment, he would not be able to take ABMC' s confidential


   information, mc!Udlng but not flnlltedto, ABMC's prodrict-prldng, and customer


   information, and use it for his own benefit, a copy of which is attached hereto as Exhibit
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35. It has· oo:w become clear•thllt Bailey is using the infoa.niation. he obtained over,the year:>


    by working for ABMC to take actions to steal Michigan DOC as a client of ABMC.


36. Bailey's newly formed relationship with Pecldlfilll now puts ABMC at a.severe


    dl.siul.vantage to submit a'bld With J>eckham to M.icliigan bepartment of Corrections and


    failing to issue a preliminary injunction, permanent injunction, and a temporary


    restraining·order.would caiIBe 5evere hardshipt0< ABMC.


37. According to the terms in Bailey's agreement with ABMC, Bailey has breached the terms


    of the .agreement and is acting maliciously to take one of ABMC' s bigges! customers,


   Michigan.DOC, as well as ABMC's other customers.


3 8. It is apparent that Bailey is using the information he obtained while working for ABMC




   customers through his own business, Premier and all other entities, which he owns.


39. As .a result, ABMC would suffer immediate and irreparable harm from significant loss of


   profits ifl3alley is successful in tal<lng away M!chlgan bOC, one of ABMC' s largest


   customer, as well as other customers.
  Case 1:17-cv-00302-TJM-DJS Document 1-1 Filed 03/16/17 Page 42 of 69




     40: To· this extent; Bailey"& actio'.l<s '.l<egatively impact the si,wcess of AB.MC ai;id its pwfits


        immensely.



    41. Therefore, ABMC shonl<l be entitled.to .a prelirninaryinJunction, permanent injllllction,


        and temporary restraining order stopping'Bailey's actions ihat are significantly affecting


        ABMC as a corporation and its profits.


Dated: Feb11Jai;y 24, 2017




                                                            !,
                                                            ii
                                                          Melis
                                                          Chlef

Sworn to before me    this~
day of February, 2017




  . a~~rw·
N mtary PilflJ8RAH A. BERLIN
    Notary Public, State of New York
           No. 018E6036756
     Qualified in Columbia County    •   Lk'
   Commission Expires February 7, 20.
 Case 1:17-cv-00302-TJM-DJS Document 1-1 Filed 03/16/17 Page 43 of 69




STATE OF NEW YORK
SUPREME COURT                                                       COUNTY OF COLUMBIA

AMERICAN BIO MEDICA CORPORATION,
                                                                    AFFIRMATION OF
                                     Plaintiff,                     ATTORNEY

       -against-                                                    Index No.:

TODD BAILEY, APRIL BAILEY,
PREMIER BIOTECH, JNC., PREMIER BIOTECH LABS, LLC, and
PECKHAM VOCATIONAL INDUSTRIES, lNC.,

                                     Defendants.



WILLIAM J. BETTER, ESQ., being an attorney duly licensed to practice law before the Courts
of the State of New York, hereby states under penalties of perjury as follows:

   1. I am the attorney for the plaintiff; American Bio Medica Corporation, in the above-

      referenced matter.

   2. I make this affrrmation in support of the Order to Show Cause brought pursuant to

       Section 6311 and 6301 of the New York Civil Practice Law and Rules (CPLR) seeking a

      preliminary injunction and temporary restraining order to prevent defendant Todd Bailey

      (hereinafter "Bailey")-in his own right, by and through defendants Premier Biotech,

      Inc., Premier Biotech Labs, LLC, or by and through any other intermediary-(!) from

      responding to a Request for Proposal issued by the Michigan Department of Corrections

      on February 3, 2017, (2) from participating in, informing, or agreeing to provide goods or

      services with regard to any entity's response to the same, (3) from in any manner

      soliciting the business or services of customers, employees, distributors, sub-distributors,
Case 1:17-cv-00302-TJM-DJS Document 1-1 Filed 03/16/17 Page 44 of 69




      or consultants of the plaintiff corporation during the term provided in the Employee

     Compliance Certification signed by defendant Bailey on September 20, 2004, (see

     Exhibit A), and (4) from in any manner exploiting, disseminating, or appropriating

     confidential or proprietary information, including trade secrets, learned during defendant

     Bailey's employment with the plaintiff corporation.

  3. I make all statements and allegations herein contained upon infonnation and belief.

 4. The sources of such information and belief are my conversations with the officers of the

     plaintiff corporation and my review of the books and records of the plaintiff corporation.

 5. I hereby incorporate by reference the accompanying Summons and Verified Complaint

     and Affidavit of Melissa Waterhouse.

 6. The plaintiff corporation has filed a Summons and Complaint naming Bailey, April

     Bailey, Premier Biotech, Inc. (hereinafter "Premier"; see Exhibit B), Premier Biotech

     Labs, LLC (hereinafter "Premier Labs"; see Exhibit C), and Peckham Vocational

     Industries, Inc. (hereinafter "Peckham" as defendants, and alleging, among other causes

     of action, breach of contract and misappropriation of trade secrets on the part of the

     defendants, defendant Bailey being a fonner employee of the plaintiff corporation.

 7. Section 6301 of the CPLR allows that a Court may grant a preliminary injunction "where

     the plaintiff has demanded and would be entitled to a judgment restraining the defendant

     from the commission or continuance of an act, which, if committed or continued during

     the pendency of the action, would produce injury to the plaintiff."

 8. In the instant claim, the plaintiff corporation seeks to enjoin defendant Bailey from

     competing with American Bio Medica Corporation during the term provided in defendant
Case 1:17-cv-00302-TJM-DJS Document 1-1 Filed 03/16/17 Page 45 of 69




     Bailey's Employee Compliance Certification (See Exhibit A), and to permanently enjoin

     defendant Bailey from appropriating the trade secrets of the plaintiff corporation.

     Defendants' continued competition with the plaintiff corporation during the pendency of

     this action is likely to result in the departure of the plaintiff corporation's clients to the

     defendants, causing the plaintiff corporation to lose profits and business expectancies.

 9. A party seeking a preliminary injunction must demonstrate "(1) a likelihood of ultimate

    success on the merits; (2) the prospect of irreparable injury if the provisional relief is

    withheld; and (3) a balance of equities tipping in the moving party's favor[.]" Doe v.

    Axelrod, 73 N.Y.2d 748 (1988). See also Nobu Next Door, LLC v. Fine Arts Housing, Inc.,

    4 N.Y.3d 839 (2005).

 10. The plaintiff corporation is ultimately likely to be successful on the merits. An employer

    has a legitimate business interest in protecting against an employee's competitive use of

    business relationships which the employee has gained through his or her employment.

    BDO Seidman v. Hirshberg, 93 N.Y.2d 382, 392 (1999). A covenant not to compete that

    proteCts such an interest will be enforceable, provided that it is reasonable in time and

    area, and that it is neither harmful to the public nor unreasonably burdensome to the

    employee, Reed, Roberts Associates, Inc. v. Strauman, 40 N.Y.2d 303, 307 (1976), and

    even where such covenants are overbroad, courts have elected to enforce such provisions

    as are reasonable, BDO Seidman, supra, at 394-395. Further, even in the absence of a

    specific covenant, the use of confidential business information relating to pricing and

    costs by a former employee in competition with a former employer has been found to

    constitute unfair competition as misappropriation of the employer's trade secrets. Laro
Case 1:17-cv-00302-TJM-DJS Document 1-1 Filed 03/16/17 Page 46 of 69




     Maintenance Corp. v. Culkin, 267 A.D.2d431 (2d Dep't 1999) Here, the weight of the

     evidence demonstrates that the defendants have used the business relationships developed

    by defendant Bailey during his tenure at American Bio Medica COl'poration, as well as

    confidential customer and pricing information made !mown to defendant Bailey in the

    course of his employment at American Bio Medica Corporation, to compete with the

    plaintiff corporation in violation of defendant Bailey's employment contract and

    applicable law.

 11. The plaintiff corporation will suffer irreparable injury if the preliminary injunction is not

    granted. If no preliminary injunction is granted, the plaintiff corporation faces the

    potential loss of its second-largest customer, the Michigan Department of Corrections.

    The Michigan Department of Corrections has solicited bids, due March 3, 2017, forthe

    services the plaintiff corporation provides. Defendants have capitalized upon the business

    relationship formed between defendant Bailey and defendant Peckham Vocational

    Industries, Inc., a Community Resource Organization, in the course of defendant Bailey's

    employment at American Bio Medica Corporation, in order to create a competitive

    advantage for defendants Premier Biotech, Inc. and Premier Biotech Labs, LLC, in the

    bidding for the Michigan Department of Corrections Contract, as described in the

    Affidavit of Melissa Waterhouse. Further, defendant Bailey's lmowledge of the plaintiff

    corporation's pricing structures and profit margin calculations puts defendants a position

    to purposefully undercut the plaintiff corporation's bid. The plaintiff corporation is in a

   position to potentially lose many other customers through similar actions by the

    defendants.
Case 1:17-cv-00302-TJM-DJS Document 1-1 Filed 03/16/17 Page 47 of 69




 12. The balance of equities favors the plaintiff corporation in the requested preliminary

     injunction. The plaintiff corporation undertook significant efforts over the course of many

     years to develop the various customer accounts, relationships, and pricing structures that

     make up the plaintiff corporation's business, and significant operational costs-including

     salary paid to defendant Bailey-were incurred in the development of the same. To

    permit the defendants to use those accounts, relationships, and pricing structures to

     compete with the plaintiff corpor.ation, without the burden of the time and re~ources

     required to develop the same, and despite a contractual obligation to refrain from such

     competition, would frustrate traditional notions of fair play and substantial justice.

 13. Section 6301 of the CPLR further provides that "[a] temporary restraining order may be

    granted pending a hearing for a preliminary injunction where it appears that immediate

    and irreparable injury, loss or damage will result unless the defendant is restrained before

    the hearing can be had."

 14. In the instant claim, as described above, the defendants are in a position, through a

    business relationship established by defendant Bailey through his employment with

    American Bio Medica Corporation, and using confidential pricing structures learned by

    Bailey in the course of bis employment with American Bio Medi ca Corporation, to

    submit a competing bid for a contract with the plaintiff corporation's second-largest

    customer undercutting the bid of the plaintiff corporation. Such bids must be submitted

    by March 3, 2017, lilrnlybefore the court will have an opportunity to rule on the

    requested preliminary injunction. Further, upon learning of the plaintiff corporation's

    request for a preliminary injunction, absent a temporary restraining order, the defendants
 Case 1:17-cv-00302-TJM-DJS Document 1-1 Filed 03/16/17 Page 48 of 69




       will have the opportunity to submit a competing bid before the court is able to rule, even

       if a ruling can be obtained before that date.

    15. The Uniform Rules for the Supreme Court and the County Court provide that "[i]n the

       absence of a showing of significant prejudice, the affmnation must demonstrate that a

       good faith effort has been made to notify the party against whom the temporary

       restraining order is sought of the time, date and place that the application will be made in

       a m.anner sufficient to permit the party .an opportunity to appe.ar in response to the

       application."

    16. In an email dated February 27, 2017, my office informed defendants Bailey, April Bailey,

       and Peckham-and by extension, defendants Premier and Premier Labs-of the instant

       request for a preliminary injunction and temporary restraining order, and attached to said

       email copies of the Swnmons and Verified Complaint, the Affidavit of Melissa

       Waterhouse, this Affmnation of William J. Better, Esq., and the Order to Show Cause,

       which indicates the time, date, and place that the order will be made.

WHEREFORE, the affrrmant respectfully requests that a preliminary injunction and temporary
restraining order, pursuant to Section 6301 of the CPLR be granted.

Dated: February 24, 2017
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EXHIBIT A
       Case 1:17-cv-00302-TJM-DJS Document 1-1 Filed 03/16/17 Page 50 of 69




                                                                                      COli'ORATION


                                 EMPWVEE COMPLIANCE CERTIFICAT}ON

 !n consi<lerati:on-0f, and .as a con<litfon >0f my •empl<iyment with AlvlEIDCAN BIO MEDICA
 CORPORAT!.ON, hereinafter "ABMC", l hereby represent to, arid agree with, ABMC as follows'

1.       ProorietarY [nformation; Confid"ntialitv. J understand that my employment by ABMC'
creates a relationship of confidence and trust with respect to any information of confidential ·or
secret nature that may be dis.closed to me by ABMC that relates to the business or products of
ABMC or any <>f its··parimtS'; subsidfa;ries.; affiliates, cust0mers ""supplier&, o" any other party
whom: AlBMC agrees to• h@ld frl.f=atfon· li>f such party in conndern::e ("!information"}. I
understand that the Information has ihd!ependen~ economk valrae to ABMC and r. ack:Jrmwle<lge
that ABMC has taken steps to preserve and safeguard the secrecy of the Infozmation and the
Information is not generally known to the public or to others in ·ABMC's industry, and has
entailed the expenditure of substantial costs and effort on ABM C's behalf over a long period of
time.

         As """ Employee I sh.aJl ,m.ake all ·ireasonable effor.ts to ·maintain the lnfo.r,mation as
•0<mfident1.al and se.cr;et iriformati-0n :<;if ABMC. I heI?eby a;grcee that I will <inly <lisc1ose the
infeyrmation to~ .~·MC, its emp'ioyees, or -a.gents. 1.vho!IJ.. it shall be reasonabi:-y necessfil-y to
disclose the Information in order to further conduct the business of ABMC, to my legal counsel
in connection 'mth· such counse-!'s representation, or as 0the1Wlse may-be required by law.

          I agree that all right, title and interest in and to the Information shall remain the
exclusive property of ABMC and that 1 will not be granted any interest or license of any right
respecting the lnfornmtfon other than that ·may be expressly set forth herein. 1 agree that any
itleas, prncesses, 'desfgns, proceduU'es, oii meth-0ds related to ABM C's business, ma.a:ufacturing,
operating systems or product technology, developed 1>J' me while an employee off ABMC is
considered "works for hire" a.-td such "works· for hire" shall become and remain' the ·sok property
of ABMC. I further agree that I will not file any application for intellectual property rights related
to the Information or "works for hire" without the express written consent of ABMC, I will not
use the Information for any purpose other than to perform my duties as an Employee of ABMC.

           Srutch P,roprletruy .Information sl:>all'Jimclade but ls ·!l!)ot liffiited .to: AEMC 's .fuatBrnad
oper<;;.ting systerus an.cl procedures. ABMC's current 1.trllfil future business piar.1.s and strategies,·
,(in.c~udin.g but not limited to analytical methods and procedures, financial information, forecasts
and forecast assumptions), marketing ·strategies or informatio11, knowledge concem.ing ABMC's
customers and their specialized requirements (including but not limited to any customer lists or
databases pertaining to existing customers, information related to past or prospective
customers, data about the terms, conditions and expiration dates of existing relationships or
contract.a with customers, the ty:pe, quality and specifications of products purchased by such
custamersf, any teehnieal data; new or existingproduet0r serviee concepts.0o;.·idea5', kn<>w-h£>W
(traile secrets}, any and· alE' information. relateil to ABMC's research aind ilevelopment activi'\ies,
manufacturi.."1.g1 praducts-1 inventions·, formuia:s·, processes, designs, dravri..ngs and' sen.rT,ce· and
operation manuals and documentation.                                                          ·


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        Case 1:17-cv-00302-TJM-DJS Document 1-1 Filed 03/16/17 Page 51 of 69




              Proprietary h"'l.formation shaJ1 meari all notes, memoranda, files, records, writin,g or other
 documenli:s wbi.c'h 'Employee has, 'in the pasit, <>r shali[ after ihe ·fun e~culion of this Agreement,
 prepare, use o,- come into contact with during ·hls(her employment mtJ.. ABMC, which Rlate .to
 any of•the ahov>e o< are (IJ.seful'm a...y manner ~o :llie business of ABMC. Proprie>tary,,In.furmation
 shall also include any and all information and materials in ABM C's possession or under ABM C's
 control for any other person or entity which ABMC is obligated to treat as confidential or
 proprietary, and any and all information not generally known to the public or within industries
 O•:I' trades in which ABMC competes. The definitiDIIl of'Proprietazy Inforn:i;ation a.ppHes, to all
 CQ!i:Uiltlr."'lii.Cations', tnclUdiin·g· written•. electronic a.tD.d ~ and. ~1thou1l: reg~d, to wheth.e:i7 any
 specific matters- woul.\:1! be deemed coF.Ji<len1!lal'., materiali or important or whethe• any specilic
 matters would be deemed; paten~able o; copyrightable.

            The obligations noted above shall not apply to: Information that immediately prior to or
 at the time of disclosure is, or thereafter becomes, available to the general public, Information
 that has been lawfully obtained by me from an independent thlrd party without breach of the
 obligations noted above as shown by sufficient documentation ·that establishes the third party as
·the som-ce of fue 'lrulbrmatinn :an;d fuat the ·'f.hid. :party ·nas n-ot obramed wee '!nformation from
 A!BMC, or Information ·tha~ i can estall!ish, by documented "'11l.d competent evidence, w..;s in my
-;:iossessl.on ;?OOil'. ,to my employment with ABM{;.

          My obligations related to the Information shall remain in effect until such time that the
 Information is no longer confidential or secret and is known to the general public, and my
 obligations related to the Information survives any teirnlli-iat\on or .Jresi>gna1:±om. 0£ my employrnent
 wifuABMC.

          f' understand that in the case o~ a breach or tfu'eatened. breach of. my ollligations unde;
 this Section 1 oy me, ABMC may suffer irreparable fiarm and wffi· therefore be entitled to seek
 and be granted injunctive relief to enforce my obligations under this Section 1.

 2.         Non-solicitation. During and for a period of one (1) year after my termination or
 resj;,,onation from employment wit..h. ABMC, I will ·not directly or indirectly solicit suppliers,
·cuswmers, emp!leyees, disuiburo.rs, .sub-clistri'bll.tors or conswtants.of .ABMC ·for my beneliit or
for me benefit of any other party.

3.      Employee Handbook. The ABMC Employee Handbook (the "Handbook") describes
important information about ABMC and my relationship with ABMC as my Employer that is not
included specifically in this Certification. I hereby aclmowledge that I have received the
Handbook and I am aware that it is my responsibility to read it thoroughly and comply with the
policies.co-ntained ID the. Ra.ndOOok. 1 unde:rstand th.at the policiesr benefits a_-rrd in.formation
conframed1 in t.11e Bian®oak are s'1b]ect to change aind t.li:tam revisioos ta ilie Handbook may be
mad'e. Any such changes will be commumcated lihwo-.i;gh official= notices and· 1 ackl'llowledge fuat·
any sucli revisfons may supercede, modify-0r elimmate e:iristting policies. Only the Chief
E..'<ecutive Officer, Chief Financial Officer or a majority of the Board of Directors p.as the ability to
adopt any revisions to the policies contained in the Handbook and any revisions made to it.

 4.       Emn.l<>Yment Statu.s. I have entered into my emp1oyment relationship with ABMC
'Vo!mrtariiy and ackno:wled,ge that •there .is no specified length of emplcy.ment. Ao::o:rdingly., cith.er
ABMC or l can terminate t.he relationsh.frp at wi1ll., wl.ti.'11 or without cause, at any time, so fon,g as
.there are no violations of "PP1icable federal or state 1aw.

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     Case 1:17-cv-00302-TJM-DJS Document 1-1 Filed 03/16/17 Page 52 of 69




                                                                                                      '    '   '




        Furthermore, neither my signature on thls Certificaition, no; the Employee Handbook
 constitute~ra contract of employment with
                                         ABMC or ·obligates ABMC to employ-me for any stated
period of time.

5,       Governing Law: Severnbili.tv. Tlwis Cea:tilficati.on shaJl . be govemed and interpreted m
accordance with the laws of the State of New York, without regard to i:he application or
principles of choice of law. In the event that any provision of this Certification is found by a
court, arbitratox or othet tribunal to be illegal, invalid or unenforceable, then such provision will
not be voided; but w:ilir enforced to the maximum extent permissible under appllicali>le !aw, andl
the remainder of this Certification will remain in full force and in effect.

6.      Contacts. Should I have aa:o.y questions· or: concer:n'S' related· ta this Certification· a" its
contents; L shallcontocn:he f<>ll.0Mng:pe!isons atAEMC's Carp0rate Office in·Kimierh-0ok, NY:

         For Sections 1, 2, & 5:

                        Melissa A. Decker
                        Coryorate Secretary
                        Cwp0ira!e ·Compliruace Administrator
                        Phone: 800-227 ~1243, Extension 107
                        Email: mdeckerimabmc.com

         For Sections 3 & 4:

                        Therese R. Drobner
                        Human: Resources
                        Phmie: 800"2'2'7-124'~, Extel1J;s{OJ11!' 103
                        Email:: t<l'Fobnei;@abmc.com

By signing and dating below, I hereby agree to comply with the terms of this Certification:

AMERICAN BIO MEDICA CORPORATION:



Print'Name

         -fa I
         -J,,.t/ ;tZ'
Sign her~                                                     Sign here               j


                                                               ~cJ /?iy
Date I                                                        Date




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            EXHIBIT B   I
                    Case 1:17-cv-00302-TJM-DJS Document 1-1 Filed 03/16/17 Page 54 of 69

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   Business Record Details »

  Mlilr.ie~ota Business Name
  P.r.emierB:iotech Labs,lLC

  luslness Type                                                                       MN Statute
   Limited Liability Company (Domestic)                                                 3228

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   679661900021                                                                         Mi"1nesota.:

 'ilingDate                                                                           Status
  6/29/2013                                                                            Active I In Good Standing

 leiiewaJ.DueDate                                                                    .Registered Office Address
  12/31/2016                                                                           6630.Lakeway,~~ive

                                                                                        Chanbassen, 'MN 55317
                                                                                        USA

 ~egistered Agent(s)                                                                 Manager
  (Optional) None provided                                                            Todd Balley
                                                                                      7516 BOfu,St.S.Suite 220.
                                                                                      Cottage Grove, MN 55016
                                                                                        USA

)rincipal Executive Office Address
 7516 Bath St5Suite220
 Cottage Grove, MN 55016
  USA


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    Filing History

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                     Case 1:17-cv-00302-TJM-DJS Document 1-1 Filed 03/16/17 Page 56 of 69

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   Business Record Details,,

  Minnesota.Business.Name
  PREMIER BlOTECH, INC

 lusiness Type                                                                           MN Statute
  Business Corporation (Domestic)                                                         302A

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   349SSG7-Z                                                                                Mfnnesi:>ta

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   09/14/2009                                                                             Active/ In Good Standing

 ienewal Due Date                                                                        Registered Office Address
  12(31/2017                                                                               :6630lal<eway.Drv
                                                                                           Chalihassen,'MN 55317
                                                                                           USA

~umber of Shares                                                                         Registered Agent{s)
  10,000                                                                                  (Optional) None provided

:l:r!ef Execiltiire Officer: .                                                           Pffiildi>aJ. Executive Offi.oe Aldcdress:·
  AprttBa~ey                                                                                6630·Lakeway Dr:v.
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  Chanhassen, MN 55317                                                                      USA
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                                             (Business Name: PREMIER BIOTECH, INC)

                  2/25/2013                  Administrative Dissolution - Business Corporation
                                             (Domestic)



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Case 1:17-cv-00302-TJM-DJS Document 1-1 Filed 03/16/17 Page 57 of 69




                                            EXHIBIT D   /
             Case 1:17-cv-00302-TJM-DJS Document 1-1 Filed 03/16/17 Page 58 of 69




 From:                         Todd Bailey
 Sent:                         Monday, December 10, 2012 6;49 PM
 To:                           Doug Casterlin; Stan Cipkowski; Duncan Urquhart; Melissa Waterhouse
 Cc:                           Whitney Cipkowski
 Subject:                      RE: Ml DOC cost savings analysis


 I will put the order in with Whitney tomorrow.     State of MI pays us.


 -----Original Message-----
 From: Doug Casterlin
 Sent: Mon 12/10/2012 17:47
 To: Todd Bailey; Stan Cipkowski; Duncan Urquhart; Melissa Waterhouse
 Cc: Whitney Cipkowski
 Subject: RE: Ml DOC cost savings analysis

 What sku? there is more than one 3 panel RDS card.

 Also, please place an order in the system .... who is paying for these?


-----Original Message-----
From: Todd Bailey
Sent: Mon 12/10/2012 5:23 PM
To: Doug Casterlin; Stan Cipkowski; Duncan Urquhart; Melissa Waterhouse
Cc: Whitney Cipkowski
Subject: RE: Ml DOC cost savings analysis

Hi Doug,
We would like to send the 3 panel RDS cards, sent with cups and bags. Otherwise we can do lncup.

Todd

----Original Message-----
From: Doug Casterlin
Sent: Monday, December 10, 2012 2:11 PM
To: Todd Bailey; Stan Cipkowski; Duncan Urquhart; Melissa Waterhouse
Subject: RE: Ml DOC cost savings analysis

Whatsku?

Todd Bailey <tbailey@abmc.com> wrote:

Thanks for the detail on this Doug. Even though we might not realize any saving, I want to explore this option to avoid a
bid. I would relly like to get out 5,000 units to Ml next week. Melissa and I spoke, there is no contract needed at this
point. This is just a necessary step to seeing if it is possibile to be "set aside".

Thank you,


                                                               1
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 Todd Bai!ey
 Vite President of Sales and Marketing                                                                       '   '
 American Bio Medica Corporation
 Direct 952-949-0729
 tbailey@abmc.com <blocked::mailto:tbailey@abmc.com>




From: Doug Casterlin
Sent: Wednesday, November 28, 2012 12:25 PM
To: Todd Bailey; Stan Cipkowski; Duncan Urquhart; Melissa Waterhouse
Subject: RE: Ml DOC cost savings analysis


Todd,

 Here are answers to some specific questions in your email.

For those who do not want to read all the detail below the conclusion is that there is no cost savings for ABMC sending
bulk product in gaylords to Peckham .....

I am using the three highest volume skus sold to Michigan DOC as models ... 2 of the skus are bulk RDS cards (30S and
4MS) packed 50 per small box and the 3rd is an RDS kit (303) packed 25 per standard die cut box.

Bulk RDS cards: Cost of box is $.31. Cost of box pertest is ($.31/50 tests per box) $.0062 Cost of master carton to pack
above product Is $2.25. Cost of box per test ($2.25/1500 tests per master carton) is $.0015 Cost of package insert is
$.11. There is 1 Pl per box of 50 tests so the cost of the Pl pertest is ($.11/50) $.0022

If ABMC does not supply the above items to Peckham the cost savings per test is $.0099 (.0062+.0015+.0022) or $.01
per test.

The added cost of shipping 1 gaylord packed with 5000 bulk RDS tests to Peckham in Lansing is $165 per pallet or $.033
per test.

From the above info we see shipping bulk RDS cards to Peckham actually results in an increased cost to ABMC of $.023
per test.

For those current Michigan DOC orders over 30 cases ABMC pays shipping. The cost of 1 master carton containing
1500 bulk RDS cards to ship to Lansing via UPS is $31.77 or $.02118 per test. ABMC would avoid this cost if it was
working with Peckham.

So ABMC decreased shipping cost of $.02118 per test curently is offset by the increased cost of $.023 as shown above.
This results in a net zero savings to ABMC when supplying bulk RDS cards to Peckham


RDS Kits: Cost of die cut box is $.73. Cost of box per test is ($.73/25 kits per box) $.0292
Cost of master carton to pack above product is $2.25. Cost of box per kit ($2.25/250 kits per master carton) is $.009
Cost of package insert is $.11. There is 1 package insert per box 0125 tests so the cost of the Pl per test ($.11/25) is
$.0044

If ABMC does not supply the above items to Peckham the cost savings per RDS kit is $.0426

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 Melissa Waterhouse

 From:          Melissa Waterhouse
 Sent:          Thursday, January 10, 2013 12:00 PM
 To:            'mstover@peckham.org'
 Cc:            Todd Bailey; Whitney Cipkowski
 Subject:       ABMC - Final Work Instructions, training, orders, etc
 Sensitivity:   Confidential
 Attachments: PECKHAM Work instructions 1-10-13 FINAL.pdf
 Hi Mike,

it was a pleasure speaking with you today. As discussed, attached are the final work instructions that
can be used for training purposes. I understand that you will be conducting training this afternoon and
that packaging activities will begin tomorrow.

Also as discussed, your Account Specialist will be Whitney Cipkowski and I have copied her on this
email. She will be forwarding you the following later today:

ABMC form of Picking Sheet to be included with each Ml DOC order
Order information for current orders that will need to be shipped asap (I understand from Whitney
that there are multiple orders with varying locations).

Once you have conducted your training session, please send an electronic copy of the completed
training form for our records. I will be getting our QA Specialist (Kathie Callan) up to date on the status
of this relationship and you will most likely receive additional communications from her on
quality/process related issues.

Thank you,

Melissa
Melissa A. Waterhouse
EVP, Regulatory Affairs & Chief Compliance Officer
Corporate Secretary
American Bio Medica Corporation
122 Smith Road
Kinderhook, New York 12106
Tel: 800-227-1243 or 518-758-8158, Ext 107
Fax: 518-758-8171
Check us out on the web at www.abmc.com

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                   PECKHAM Work Instructions for Pilot Program

(1)    American Bio Medica Corporation (ABMC) will ship to Peckham:
       a.    10,000 units of 10-30S-OOO in bulk
       b.    200 Product Instruction Booklets
       c.    200 RDS Result Guides
       d.    200 case boxes (to package the units into case of 50 units)
       e.    225 labels for the case boxes
       f     225 lotnumber/expiration date labels to affix to (e)
(2)    Order Entry;
       a Michigan Department of Corrections (Mr DOC) places an order with their dedicated
          Account Specialist (AS) (Whitney Cipkowski).
       b. The AS will process the order in MAS 90 and enter the order into the "Work Book". A
          Picking Sheet will automatically be produced when the order is entered into MAS 90. Print
          this Picking Sheet and hold in the folder labeled "Peckham Open Orders"; it will be used
          later under Section 4.
       c. The AS will send the order to Pecldiam via e-llll!il indicating the number of units to be
          packaged and shipped, the shipping address to send the product, the Sales Order # (to be
          included on Peckham'• picking sheet), aud the method of shipping.
       d. Peckham will co.ufum the order receipt with the AS.
       e. Peckham will print a picking sheet con:esponding to the order received.
(3)   Packaging/Shipping Instructions for Peckham:
      a     Remove all previous packaging Jlll!terials, dirt and debris from the line.
      b.    Assemble case boxes by folding the con:ugated box into its proper design aud taping one
            end closed.
      c.    Obtain the pouched product to be packaged
      d.    Affix the box label on ihe case box.
      e.    Place lot number aud expiration label on case box labeL
      f.    Place the 50 pouches in each case box
      g.    As pouches are placed into ihe case boxes, inspect the pouches and labels for defects and
            debris.
      h.    Notify your Floor Supervisor, or in his absence ihe Business Develapment Coordinator of
            all defects observed, and they will notify ABMC Quality Assurance.
      1.    Place defective pouches and labels into a separate labeled container to be removed at ihe
            end ofpackaging.
      J·    Place one (1) Product Instructions booklet and one (1) RDS results guide in the case box.
            Note; One RDS results guide should be stapled to each Product Instructions.        ·
      k.    After each case box is complete, weigb each box to verify that all components are present.
      l.    Record ihe weigbt of ihe complete box, including paperwork               lbs.
      m.    Repeat the steps above until ihe number of cases indicated on the order are boxed.
      n.    Tape boxes closed with clear tape.
      o.    Record ihe quantity of completed boxes and calculate ihe quauti1y of pouched product
            boxed.



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                Amount of Boxes Completed:              x _50__ = --.,---=--
                                         Am't of Boxes             Am'tpouches Boxed
           p.   Transfer the boxes to the shipping department.
           q.   The completed boxes of product will be packed for shipment, and a picking sheet will be
                placed on the shipping carton..
           r.   F.nter shipment information into UPS Quanhun View specifying that a shipping
                confinnation email be sent to the AS at wcipkowski@abmc.com. and ship order to MI
                DOC location.
           s.   The Sales Order# that corresponds with the shipment, the Lot# and Expiration Date of the
                product being shipped, and quantity shipped must ALL be specified in the Quantum View
                confinnation.
           t.   If UPS Qnanhnn View notification is unavailable, an email must be sent to the AS (to
                wciokowski@abmc.com) that includes the tracking number for each specific order, the
                Sales Order#, the Lot# and Expiration Date of the product being shipped and the quantity
                shipped.
(4)        Invoicing:
           a. Upon receipt of the shipping confinnation via UPS Quantmn View, the AS will take the
              ABMC Picking Sheet generated under Section 2b from the "Peckham Open Orders" folder
              and write the UPS shipping information on the picking sheet. The AS will invoice Ml DOC
              in :MAS 90 and mark the order as "shipped" in the Workbook.
           b. Either the AS or another member of the ABMC customer service team will email each
              invoice to a specified individual at Ml DOC.
STORAGE REQUIREMENTS:
Product stored and maintained by Peckham will be individually pouched with a desiccant. Given this, only
temperature must be monitored wherever the ABMC product is kept The following specifications must be
maintained:
                     Temperature Specification: 15 - 30°C or 59 - 86° F

Temperature readings n:inst be taken at the same time each day and recorded on "Temperature Control
Log" (ATTACHED AS ADDENDUM 1)
TRAINING:
Training documents are to be completed by Peckham.
Training is required to be docUUie11ted on "TRAINING FORM Peckham Work Instructions (Pilot
Program" (ATTACHED AS ADDENDUM2)




                                   American Bio Medica Corporation
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                                   ADDENDUM!
                              Temperature Control Log
                       Temperatm:e = 15° - 30° C (59° - 86' F)

       Month:
                DATE                  TIME             TEMPERATURE
                 1
                 2
                 3
                 4
                 5
                 6
                 7
                 8
                9
                10
                11
                12
                13
                14
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                                        ADDENDUM2
                                 TRAINJNGFORM
                        Peckham Work Instructions (Pilot Program)

 Type of Training: On-The-Joh

 Trainer: - - - - - - - - - - - - - - Date of Training: _ _ _ _ _ __

Description of Training:
Peckham Work Instructions
E·.mn'ovee:
    1
            Print Name                       SiQllature           Date




Competency was demonstrated: Yes _ _ _ _ No _____ N/A _ _ _ __

Trainer Signature:                                        Date:




Return this fmm to ABMC Quality Assrn:ance when completed.




                                American Bio Medica Corporation
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 The adde::l c©st of shipping 1 gay\ord packed with 1000 RDS kits to Peckham in Lansing is $165 per pallet or $.165 per
 te.St   I   l     ,-




So shipping bulk RDS kits to Peckham actually results in an increased cost of $.1224 per kit

For those current Michigan DOC orders over 30 cases ABMC pays shipping. The cost of 1 master carton containing 250
RDS kits
to ship to Lansing via UPS is $31.77 or $.127 per test. ABMC would avoid this cost if it was working with Peckham.

So ABMC decreased shipping cost of $.127 pertest curently is offset by the increased cost of$ .1224 as shown above.
This results in a net zero savings to ABMC when supplying RDS kits to Peckham

Doug




From: Todd Bailey
Sent: Tuesday, November 27, 2012 9:12 AM
To: Stan Cipkowski; Doug Casterlin; Duncan Urquhart; Melissa Waterhouse
Subject: Ml DOC




Hi Gang,
Our contract is Ml is up in Oct. 2013. We have no more extentions left. We they must bid, OR we use a state use
program to repack our goods. We need to give Peckham (the State Use company) "experience" by Feb to get a
committee to vote on this for approval. One the committee votes, DOC will agree or disagree. I was there in Oct and
the DOC will agree as long as we are involved in the services to the field.

Questions and comments

•                Will we save money?
•                Est how much?
•                Can the State save a little?
•                Peckham will charge an estimated 10 cent per lncup or RDS. This is on top of any extra expenses, boxes, Pis ...
•                We need to ship it there, perferrable a container at a time, costs?
•                How much does our boxes costs, all of them?
•                How much is the Pl, printed .

summary of relationships


ABMC, Inc and Peckham



•            ABMC manufactures devices and pouch devices from ABMC manufacturing facility
*            Peckham receives bulk drug tests-packed in gay\ords
*            Peckham acquires boxes for shipping
•            Peckham assembles boxes
•            Peckham packs boxes in various quantities
                                                                    3
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*        Pec''.ham prints package inserts, Instructions, and chain of custody forms. Depending on State DOC, additional
ducull'•ents may be packaged into boxes with product
*        Peckham accepts order from ABMC on behalf of the State, prints UPS label, ships product, and bills the State
*        Peckham pays ABMC
*        State pays Peckham


Manufacturing process with ABMC

*      Strip manufacturing is automated with cards, sprayers, and cutters
*      Strips are manually assembled into devices
*      Devices are pouched through automated pouching device
*      Product shipped in gaylords to Peckham




Services provided to State by ABMC

*      Provide training throughout the State
*      Accept orders from State
*      Track sales throughout State offices and report back to the State
•      Provide technical assistance when needed
*      Continue education to State on drug testing and trends




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                                                                             EXHIBIT E   f
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 Melissa Waterhouse

 From:            Melissa Waterhouse
 Sent:            Tuesday, December 13, 2016 5:10 PM
 To:              Todd Bailey
 Subject:         Fwd: Please provide new pricing for the attached products
 Attachments: image001.gif; ATT47917843.htm; 12-13-16 Drug Tests Pricing.xis; ATT47917844.htm
I had a meeting in NJ today and just received this. I haven't even looked at it yet.

Thank yon,

Melissa Waterhouse
Chief Executive Officer
American Bio Medica Corporation
800-227-1243, Extension 107
Check us out on the web at www.abmc.com


Begin forwarded message:

         From: "Samuel, Brandon (DTMB)" <SamuelB@michigan.gov>
         Date: December 13, 2016 at4:03:41 PM EST
         To: '"mdwaterhouse@abmc.com"' <mdwaterhouse@abmc.com>
         Subject: Please provide new pricing for the attached products

         Hello Melissa,

         Itried to reach you earlier but I had to leave a message. MDDC is interested in incorporating the attached
         items in the change notice to extend the contract through 4/30/17. The attached spreadsheet captures
       the average price based on other vendor quotes. Based on pricing from other vendors, we would need
       pricing to come down from what ABM previously provided to be more in line with the average price
       numbers. I look forward to receiving new pricing from ABM.

       Thank you.

       !B'latldon Samud.
       Brandon Samuel
       Michigan Department of Technology, Management & Budget
       Procurement I Services Division
       Constitution Hall, 1' 1 Floor. NE
       525 West Allegan, Lansing MI 48909
       Phone (517) 284-7025
       Fax (517) 335-0046
       Email Samuelb@michigan.gov

       For current bids and new registration, please visit: www.buy4michigan.com
       For Buy4Michigan Customer Service, please call: 1-855-647-8724
       For vendor information, please visit: www.michigan.gov/micontractconnect

       "Right decisions today determines tomorrows future success." B. Samuel
       "'Never forget the past, just don't live in it" B. Samuel




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ABMc Pricing


     PRODUCT


4panel dips




5 panel dips




6 panel dips

                        ~Pl;"""'OXY,FY~BUP,~·----r'1-----0\-------I
                        tMETH                   ~ .... ...,,   I_          $3.75                $1.79]
                        l                                      I-                                       !


                        1~~1/0XYWYUBUP/COCIMEiHITI
7 panel dlp


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                                                                                   I            $1.861
                                                                                                        :
                        I                                                          I
8 panel dips

                        OPl/OXY/FYVBUPICOC/METH/A
                        CMCPC/TCHCC~--------j--~·c4c·"c".,--~~: 24+-------/                      ..·_
Single Panel Dips                                                                 I
                            THC                                             $1.00J              $0.68
                            Benzodlazeplnes                                 $1.00I              $0.68
                            Barbiturates                                    $1.00!              $0.68
                        ,Methadone                                          s1.001              $0.68
                        ~                                                   $1.35i              $0.68)

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8 p'lnel In-cup


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                        1
                    All products inciude sh!pping costs-current products somelimes did and sometimes did no
Notes:-·---       _J!~~U'!e.s_~lp_p..!_n~·.!'El.~_!!l.o~~-s!o:i!l!e:'~~ip~!"!l~b~!!)_<;:ludlng F~nlanyl, _ _ _ _ _ _
                                                                                                                     1
                        !   ETG and K2). Product pricing does       NOT lnoluda the cost of   co~ec:-~-~-ps.
